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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Michigan
 In re       Gregory Samuel Weihl                                                                             Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     750.10
             Prior to the filing of this statement I have received                                        $                     750.10
             Balance Due                                                                                  $                       0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Lien avoidance, Redemption Agreements, Reaffirmation Agreements, 2004 examinations (depositions),
               Administrative Closings, and Adversary Proceedings, Adding Creditors, Amending Schedules, Conversion to
               Chapter 13, Motion to Delay Discharge and or any other actions not in the normal course of a Chapter 7
               Bankruptcy.

                  NOTE: In addition to the monies referenced in paragraph 1 & 2, the Dietrich Law Firm received from the debtor(s)
                  $57.90 for the following expenses: Credit Report(s) $33.00, Pre-filing Credit Counseling $14.95, Post-filing Debtor
                  Education $9.95.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 27, 2018                                                           /s/ Robert W. Dietrich
     Date                                                                        Robert W. Dietrich P49704
                                                                                 Signature of Attorney
                                                                                 DIETRICH LAW FIRM
                                                                                 3815 West Saint Joseph Street
                                                                                 Suite A200
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                                                                                 Name of law firm




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